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 1                                                              HON. RICHARD A. JONES
 2
 3
 4
                               UNITED STATES DISTRICT COURT
 5
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,                   )   No. CR 20-004 RAJ
 8                                               )
                     Plaintiff,                  )   ORDER DENYING WITHOUT
 9                                               )   PREJUDICE DEFENDANT’S
                v.                               )   MOTION FOR RELEASE FROM
10                                               )   DETENTION
     WILLIAM GALE,                               )
11                                               )
                     Defendant.                  )
12                                               )
                                                 )
13
            THE COURT has considered Defendant William Gale’s Motion for Release
14
     from Detention. Having considered the motion, the detention order, the response from
15
     the government, and the records and files herein, the Court finds as follows:
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            Counsel for Defendant has notified the Court that because a firm trial date has
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     now been set of December 7, 2020, Defendant agrees to entry of an order denying his
18
     motion for release from detention without prejudice to being renewed should his trial
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     date be stricken or continued.
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            Accordingly, IT IS NOW ORDERED that Defendant’s Motion for Release from
21
     Detention (Dkt. #43) is DENIED without prejudice.
22
            DATED this 16th day of October, 2020.
23
24
25
                                                      A
                                                      The Honorable Richard A. Jones
26                                                    United States District Judge


       ORDER
       (William Gale, CR 20-004 RAJ.) - 1
